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                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA
                                PITTSBURGH DIVISION

Kellen McIlwain                                          Case No.:
420 Fair St.
Kittanning, PA 16201                                     Judge:

         Plaintiff,                                          COMPLAINT FOR DAMAGES
                                                         UNDER THE FAIR DEBT COLLECTION
v.                                                          PRACTICES ACT, INVASION OF
                                                          PRIVACY, AND OTHER EQUITABLE
Omni Credit Services, Inc.                                           RELIEF
c/o CT Corporation System
1515 Market ST., Suite 1210
Philadelphia, PA                                          JURY DEMAND ENDORSED HEREIN

         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.

5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around August 16, 2010, Defendant telephoned Plaintiff at Plaintiff’s place of

     employment.




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8. During this communication, Defendant threatened to turn Plaintiff into the magistrate if the

   debt was not paid.

9. During this communication, Plaintiff notified Defendant that Plaintiff was not allowed to

   receive Defendant’s telephone calls at his place of employment and/or that it was

   inconvenient for Plaintiff to receive Defendant’s telephone calls at his place of employment.

10. Despite this notice, Defendant telephoned Plaintiff at Plaintiff’s place of employment at least

   2 more times thereafter.

11. At the time of these communications, Defendant had neither the intent nor ability to turn

   Plaintiff into the magistrate.

12. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

13. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

14. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

15. Defendant violated 15 U.S.C. §1692c by calling Plaintiff at Plaintiff’s place of employment

   after Defendant knew or had reason to know that Plaintiff’s employer prohibited Plaintiff

   from receiving Defendant’s phone calls.

                                           COUNT TWO

                         Violation of the Fair Debt Collection Practices Act

16. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

17. Defendant violated 15 U.S.C. §1692c by calling Plaintiff at a time and/or place known to be

   inconvenient for Plaintiff.




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                                         COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

18. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

19. Defendant violated 15 U.S.C. §1692e in that it falsely represented the character, amount,

   and/or legal status of the debt.

                                          COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

21. Defendant violated 15 U.S.C. §1692e in that it threatened action that could not legally be

   taken and/or that was not intended to be taken.

                                           COUNT FIVE

                       Violation of the Fair Debt Collection Practices Act

22. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

23. Defendant violated 15 U.S.C. §1692e by making misrepresentations during its

   communications with Plaintiff.

                                            COUNT SIX

                       Violation of the Fair Debt Collection Practices Act

24. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

25. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

   unconscionable means to collect the debt.

                                         JURY DEMAND

26. Plaintiff demands a trial by jury.




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                                      PRAYER FOR RELIEF

27. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.

                                                By: /s/ Jeffrey S. Hyslip
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